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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

   SALITA PROMOTIONS CORP.,               Case No. 2:20-cv-12547-LJM-EAS
                                          Hon. Laurie J. Michelson
                Plaintiff,

   v.

   SHOHJAHON ERGASHEV and
   OLEG BOGDANOV,

                Defendants.


   CLARK HILL PLC                               SHOHJAHON ERGASHEV
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             ORDER DISMISSING DEFENDANT OLEG BOGDANOV
                         WITHOUT PREJUDICE
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          The Court Clerk entered a Default against Defendant Oleg Bogdanov for failing

    to respond to the Second Amended Complaint [ECF No. 84], Plaintiff Salita

    Promotions Corp. has resolved its claims against Defendant Shohajon Ergashev, and

    the Plaintiff and Defendant Oleg Bogdanov stipulate to the entry of an Order dismissing

    the Second Amended Complaint against Defendant Oleg Bogdanov without prejudice,

    and with the Court being advised in the premises,

          IT IS ORDERED that the Second Amended Complaint against Defendant Oleg

    Bogdanov is dismissed without prejudice.

          SO ORDERED.

   Dated: November 1, 2022                        s/Laurie J. Michelson______________
                                                  LAURIE J. MICHELSON
                                                  UNITED STATES DISTRICT JUDGE


    Plaintiff and Defendant Oleg Bogdanov stipulate to the entry of this order:


    /s/ Charles E. Murphy
    Charles E. Murphy (P28909)                           Oleg Bogdanov
    Clark Hill PLC                                       In Pro Per
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